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                    Exhibit P
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From:     Scott Becker <sbecker@archegoscapital.com>
To:       William Tomita <wtomita@archegoscapital.com>, Patrick Halligan
<phalligan@archegoscapital.com>, Operations Archegos <operationsarchegos@archegoscapital.com>
Cc:       Trading Archegos <tradingarchegos@archegoscapital.com>
Subject: RE: IQ rebalance for margin improvement
Sent:     Thursday, April 9, 2020 1 :06:08 PM

 Hi Pat- we'll add a line to the cash estimates today "Effect of IQ move from DB to JEFF/NOM +$3m"
 not a huge amount, but he may be looking out for it.


 From: William Tomita <wtomita@archegoscapital.com>
Sent: Wednesday, April 8, 2020 5:24 PM
To: Patrick Halligan <phalligan@archegoscapital.com>; Operations Archegos
 <operationsarchegos@archegoscapital.com>
Cc: Trading Archegos <tradingarchegos@archegoscapital.com>
Subject: RE: IQ rebalance for margin improvement

 Hahaha

 From: Patrick Halligan <phalligan@archegoscapital.com>
Sent: Wednesday, April 8, 2020 5:20 PM
To: William Tomita <wtomita@archegoscapital.com>; Operations Archegos
 <operationsarchegos@archegoscapital.com>
Cc: Trading Archegos <tradingarchegos@archegoscapital.com>
Subject: RE: IQ rebalance for margin improvement

 Got it-the wash sale won't be relevant to worry about-it's been laundry day these days!


 From: William Tomita <wtomita@archegoscapital.com>
Sent: Wednesday, April 08, 2020 5:18 PM
To: Patrick Halligan <phalligan@archegoscapital.com>; Operations Archegos
 <operationsarchegos@archegoscapital.com>
Cc: Trading Archegos <tradingarchegos@archegoscapital.com>
Subject: FW: IQ rebalance for margin improvement

 Hey Pat, FYI we're going to move half of the IQ position out tomorrow from DB. Jefferies and Nomura
 can take it at better rates but it has a small wash sale. DB has been getting restless and the muddy
 waters report didn't help, but we will get better margin away in any case...


 From: Bill Hwang <bhwang@archegoscapital.com>
Sent: Wednesday, April 8, 2020 5:13 PM
To: William Tomita <wtomita@archegoscapital.com>
Cc: Trading Archegos <tradingarchegos@archegoscapital.com>; Scott Becker
 <sbecker@archegoscapital.com>
Subject: Re: IQ rebalance for margin improvement

 That sounds good!




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                                                                                   wrote:



        Hi Bill,
        Just a heads up we've been working with DB on IQ margin because we unwound a bunch
        of positions there and DB's existing IQ position is now largely concentrated. The best
        solution is to move ~$SOmm to Jefferies and Nomura. There is a small wash sale but the
        margin rate goes from 22% -> ~is% so it makes all happy and we save cash. Scott's side
        is fine with this.

We will aim for tomorrow for this, but please let us know any concerns.
        Thanks,
        Will




                                                                                       SONY_SWR_0000382883
